     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 1 of 38 Page ID #:243



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 8        E-mail:    eddie.jauregui@usdoj.gov
                     roger.hsieh@usdoj.gov
 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 19-282-RGK

14              Plaintiff,                    BRIEF REGARDING SERVICE OF ORDER
                                              TO SHOW CAUSE AND NOTICE OF
15                   v.                       HEARING DATE ON DEFENDANTS 1001
                                              DOUBLEDAY LLC, VON KARMAN-MAIN
16   ZHONGTIAN LIU, ET AL.,                   STREET LLC, AND 10681 PRODUCTION
                                              AVENUE LLC
17              Defendants.

18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Eddie A. Jauregui
22   and Roger A. Hsieh, hereby files this brief to apprise the Court of
23   its efforts to notify defendants 1001 Doubleday LLC, Von Karman-Main
24   Street LLC, and 10681 Production Avenue LLC of Magistrate Judge Gail
25   Standish’s Order to Show Cause (Dkt. 55) and the October 3, 2019
26   Order to Show Cause hearing date.       As explained in the government’s
27   memorandum of points and authorities, the government has apprised
28
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 1   these defendants of both the Court’s order and the hearing date by

 2   service via U.S. Mail.

 3    Dated: September 26, 2019           Respectfully submitted,

 4                                        NICOLA T. HANNA
                                          United States Attorney
 5
                                          BRANDON D. FOX
 6                                        Assistant United States Attorney
                                          Chief, Criminal Division
 7

 8                                              /s/
                                          EDDIE A. JAUREGUI
 9                                        ROGER A. HSIEH
                                          Assistant United States Attorneys
10
                                          Attorneys for Plaintiff
11                                        UNITED STATES OF AMERICA

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     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 3 of 38 Page ID #:245



 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.   INTRODUCTION
 3        On September 6, 2019, Magistrate Judge Gail J. Standish issued

 4   an order to show cause why six corporate defendants1 should not be

 5   held in civil contempt for failure to appear for their initial

 6   appearances to answer to the indictment in this case. (Dkt. 55.)

 7   Magistrate Judge Standish’s order required the six defendants to

 8   appear before this Court on September 12, 2019.          None appeared.

 9        At the September 12, 2019 hearing, the government informed the

10   Court that, although it sent the Order to Show Cause to the six

11   defendants on September 9, 2019 for overnight delivery, the letters

12   did not reach three of the defendants: 1001 Doubleday LLC, Von

13   Karman-Main Street LLC, and 10681 Production Avenue LLC

14   (collectively, the “Warehouse LLC Defendants”).2          As to these

15   Warehouse LLC Defendants, the Court continued the hearing to October

16   3, 2019, at 10:00 a.m.      (Dkt. 57.)    The Court directed the government

17   to submit briefing regarding service on these defendants within two

18   weeks. (Id.)

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          1 The six defendants were (1) Perfectus Aluminum Inc., aka
23   “Perfectus Aluminum Inc.,” (2) Perfectus Aluminum Acquisitions, LLC,
     (3) Scuderia Development, LLC, (4) 1001 Doubleday, LLC, (5) Von
24   Karman-Main Street, LLC, and (6) 10681 Production Avenue, LLC
     (collectively, the “U.S. entities”). The government refers to these
25   six entities, which are all based in the United States, as the “U.S.
     entities” to distinguish them from defendant China Zhongwang Holdings
26   Limited, which is a public company listed with the Hong Kong Stock
     Exchange, with its headquarters in Beijing, China.
27
          2 Federal Express records reflect that the customer was not
28   available or the business was closed, and that access was controlled
     by customer.
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 1   II.   STATEMENT OF FACTS
 2         A.     The Government Mailed the Court’s Orders to the Warehouse
 3                LLC Defendants via U.S. Mail
 4         Each of the Warehouse LLC Defendants is a California-based

 5   limited liability company registered with the California Secretary of

 6   State.     (Ex. 1 to Jauregui Decl.)    The Secretary of State’s website

 7   reflects that the Warehouse LLC Defendants list Zhijie Wang (“Wang”)

 8   as their registered agent for service of process.          (Id.)   Likewise,

 9   the Secretary of State’s website reflects that the Warehouse LLC

10   Defendants list their principal business address as 2323 Main Street,

11   Irvine, California.     (Id.)

12         On September 19, 2019, the government delivered (1) Magistrate

13   Judge Standish’s Order to Show Cause (Dkt. 55), and (2) the Court’s

14   minute order continuing the hearing for these defendants to October

15   3, 2019 (Dkt. 57), via U.S. Certified Mail, to the following parties:

16         1.     The Warehouse LLC Defendants, at an address in Tustin,

17   California, to which Wang, their agent for service of process,

18   directed her mail be forwarded, per the United States Postal Service

19   (the “Tustin address”);

20         2.     The last known business address for the Warehouse LLC

21   Defendants, i.e., 2323 Main Street, Irvine, California. (See Ex. 1.)

22   This address is also the business address of an entity called Alston

23   International;3 and,

24         3.     Charles Pok and Wen Peng, who, to the government’s

25   knowledge and belief, are executives of Alston International and also

26
          3 California Secretary of State records available online reflect
27
     that Wang is also the CEO and director of Alston International.
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     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 5 of 38 Page ID #:247



 1   manage the Warehouse LLC Defendants.4        The mailings to Pok and Peng

 2   were also mailed to 2323 Main Street in Irvine.

 3         As of this date, the government understands that the United

 4   States Postal Service completed delivery to the Warehouse LLC

 5   Defendants at their last known business address of 2323 Main Street,

 6   Irvine, California, as well as to Charles Pok and Wen Peng.            (See Ex.

 7   2.)   The Postal Service attempted to deliver the government’s letters

 8   to the entities at the Tustin address for Wang, but was unsuccessful

 9   because an authorized recipient was not available.          (See Ex. 3.)

10   III. Service is Complete Under Rule 5 of Federal Rules of Civil
          Procedure
11
               Service of an order to show cause why defendants should not be
12
     held in civil contempt is governed by Rule 5 of the Federal Rules of
13
     Civil Procedure.     See Fed. R. Civ. P. 4.1, Advisory Comm. Notes; see
14
     also Waffenschmidt v. Mackay, 763 F.2d 711, 720 (5th Cir. 1985); 4B
15
     Wright & Miller § 1139 (4th ed.).       Rule 5 instructs, among other
16
     things, that service may be made by mailing the relevant documents to
17
     a “person’s last known address—in which event service is complete
18
     upon mailing,” or by leaving it “at the person’s office with a clerk
19
     or other person in charge . . . .” See Fed. R. Civ. P. 5(b)(2)(B)(i),
20
     (C); see also Local Civil Rule 5-3.2.1 (parties who have not appeared
21
     must be served in accordance with Fed. R. Civ. P. 5); cf. Fed. R.
22
     Crim. P. 49(a)(4)(C) (a paper may be served by “mailing it to the
23
     person’s last known address--in which event service is complete upon
24
     mailing”).
25

26
           4In addition, the government mailed the documents via first
27   class U.S. mail to attorney Marc Greenberg, who represents the
     warehouses owned by these LLCs in civil forfeiture proceedings before
28   the Hon. Dolly M. Gee.
                                        3
     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 6 of 38 Page ID #:248



 1         Here, the government completed service when it mailed the orders

 2   to the Warehouse Defendant LLC’s at their last known business

 3   address, as well as to Charles Pok and Wen Peng, at 2323 Main Street,

 4   Irvine, California.     Fed. R. Civ. P. 5(b)(2)(B)(i), (C).        The

 5   government also provided a declaration that meets the requirements of

 6   Local Civil Rule 5-3.1.2.      The government likewise completed service

 7   to the Warehouse Defendant LLC’s by mailing the orders to their

 8   agent’s last known address in Tustin, California.

 9   IV.   CONCLUSION
10         For the foregoing reasons, the government respectfully submits

11   that service to the Warehouse LLC Defendants is complete.

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     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 7 of 38 Page ID #:249



 1                        DECLARATION OF EDDIE A. JAUREGUI
 2        I, Eddie A. Jauregui, declare as follows:

 3        1.    I am an Assistant United States Attorney assigned to the

 4   matter of United States of America v. Zhongtian Liu et al., CR No.

 5   19-282-RGK.

 6        2.    Attached as Exhibit 1 to this declaration are true and

 7   correct copies of the most recent, completed Statements of

 8   Information filed by defendants 1001 Doubleday LLC, Von Karman-Main

 9   Street LLC, and 10681 Production Avenue LLC, with the California

10   Secretary of State.     This information is available online.

11        3.    Attached as Exhibit 2 to this declaration are true and

12   correct copies of Certificates of Service completed by Belinda

13   Tunque, reflecting that Ms. Tunque served notices of the orders to

14   show cause on the aforementioned defendants.         The government has not

15   attached hereto the documents Ms. Tunque placed in the U.S. Mail, but

16   the government has maintained copies of those documents as mailed

17   (attached to each Certificate of Service) and can file or lodge them

18   with the Court, should the Court so request. The documents included a

19   short transmittal letter from the undersigned government counsel, the

20   Order to Show Cause (“OSC”) (Dkt. 55), and the Minute Order

21   continuing the OSC hearing to October 3, 2019 (Dkt. 57).

22        Also included as part of Exhibit 2 are print outs from usps.gov

23   reflecting that the above-described documents were delivered to

24   defendants at 2323 Main Street, Irvine, CA, and to Charles Pok and

25   Wen Peng at the same address.

26        4.    Attached as Exhibit 3 to this declaration are true and

27   correct copies of Certificates of Service completed by Belinda

28   Tunque, reflecting that Ms. Tunque served notices of the orders to
     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 8 of 38 Page ID #:250



 1   show cause on the aforementioned defendants at the current address

 2   for their agent for service of process, Zhijie Wang.            As reflected in

 3   this exhibit, the Postal Service has indicated that these mailings

 4   were not delivered to Wang’s address in Tustin, California.

 5        I declare under penalty of perjury under the laws of the United

 6   States of America that the foregoing is true and correct and that

 7   this declaration is executed at Los Angeles, California, on September

 8   26, 2019.

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12                                               EDDIE A. JAUREGUI
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     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 9 of 38 Page ID #:251



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                     roger.hsieh@usdoj.gov
 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 19-282-RGK

14              Plaintiff,                    EXHIBIT 1 TO JAUREGUI DECLARATION

15                   v.

16   ZHONGTIAN LIU ET AL.,

17              Defendants.

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              Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 10 of 38 Page ID #:252
                            Secretary of State                                                      LLC-12                                        17-A09020
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                   JUL 03, 2017
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  1001 DOUBLEDAY, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             200828810091                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                        CA       92614
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 2549 Eastbluff Dr Ste 385                                                                           Newport Beach                                                 CA       92620
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                         CA       92614
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  Zhijie                                                                                                                             Wang
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  2355 Portrait Way                                                                                  Tustin                                                        CA      92782
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix
 Zhijie                                                                                                                              Wang
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 2355 Portrait Way                                                                                   Tustin                                                         CA        92782
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Business Consulting
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix


 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code


 9. The Information contained herein, including any attachments, is true and correct.

   07/03/2017                    Zhijie Wang                                                                           CEO
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                            2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
              Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 11 of 38 Page ID #:253
                            Secretary of State                                                      LLC-12                                         17-A09032
                            Statement of Information
                            (Limited Liability Company)                                                                                             FILED
                                                                                                                                    In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                                of the State of California

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                                                                                                                                                    JUL 03, 2017
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                    This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  VON KARMAN - MAIN STREET, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             200908910123                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                       City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                         CA       92614
 b. Mailing Address of LLC, if different than item 4a                                                 City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                         CA       92614
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box     City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                          CA       92614
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                            Middle Name                      Last Name                                         Suffix
  Zhijie                                                                                                                              Wang
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                           City (no abbreviations)                                       State    Zip Code
  2355 Portrait Way                                                                                  Tustin                                                         CA      92782
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                     Middle Name                      Last Name                                         Suffix
 Zhijie                                                                                                                               Wang
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                          City (no abbreviations)                                       State    Zip Code
 2355 Portrait Way                                                                                   Tustin                                                          CA        92782
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 property investment
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                        Middle Name                      Last Name                                         Suffix
 Zhijie                                                                                                                                Wang
 b. Address                                                                                           City (no abbreviations)                                       State    Zip Code
 2355 Portrait Way                                                                                   Tustin                                                          CA      92782
 9. The Information contained herein, including any attachments, is true and correct.

   07/03/2017                    Zhijie Wang                                                                            CEO
  _____________________            ____________________________________________________________                         _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                    Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                              
Company:

Address:
City/State/Zip:                                                                                                    

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                             2017 California Secretary of State
                                                                                                                                                       www.sos.ca.gov/business/be
              Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 12 of 38 Page ID #:254
                            Secretary of State                                                      LLC-12                                        17-A09029
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                   JUL 03, 2017
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  10681 PRODUCTION AVENUE, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             200925210158                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                        CA       92614
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 2549 Eastbluff Drive Ste 385                                                                        Newport Beach                                                 CA       92620
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 2323 Main Street                                                                                    Irvine                                                         CA       92614
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  Zhijie                                                                                                                             Wang
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  2355 Portrait Way                                                                                  Tustin                                                        CA      92782
 6. Service of Process (Must provide either Individual OR Corporation.)
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 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix
 Zhijie                                                                                                                              Wang
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 2355 Portrait Way                                                                                   Tustin                                                         CA        92782
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 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
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 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix
 Zhijie                                                                                                                               Wang
 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code
 2355 Portrait Way                                                                                   Tustin                                                         CA      92782
 9. The Information contained herein, including any attachments, is true and correct.

   07/03/2017                    Zhijie Wang                                                                           CEO
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                            2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
     Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 13 of 38 Page ID #:255



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 6        312 North Spring Street
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 7        Telephone: (213) 894-4849/0600
          Facsimile: (213) 894-6269
 8        E-mail:    eddie.jauregui@usdoj.gov
                     roger.hsieh@usdoj.gov
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10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 19-282-RGK

14              Plaintiff,                    EXHIBIT 2 TO JAUREGUI DECLARATION

15                    v.

16   ZHONGTIAN LIU ET AL.,

17              Defendants.

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Case 2:19-cr-00282-RGK Document 60 Filed 09/26/19 Page 14 of 38 Page ID #:256
9/26/2019   Case 2:19-cr-00282-RGK DocumentUSPS.com®
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                                                        09/26/19      Results 15 of 38 Page ID #:257




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   Tracking Number: 70171450000215348055

   Your item was delivered to the front desk, reception area, or mail room at 5:27 pm on September
   23, 2019 in IRVINE, CA 92623.




     Delivered




                                                                                                        Feedback
   September 23, 2019 at 5:27 pm
   Delivered, Front Desk/Reception/Mail Room
   IRVINE, CA 92623

   Get Updates      




                                                                                                   
       Text & Email Updates


                                                                                                   
       Tracking History


                                                                                                   
       Product Information



                                                               See Less      




                                 Can’t find what you’re looking for?
                          Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70171450000215348055                                1/2
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                                                                   FAQs




                                                                                                       Feedback




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   USPS Tracking
                                            ®                                                    FAQs   




                                                  Track Another Package          +




                                                                                               Remove   
   Tracking Number: 70171450000215348031

   Your item was delivered to the front desk, reception area, or mail room at 5:27 pm on September
   23, 2019 in IRVINE, CA 92623.




     Delivered




                                                                                                        Feedback
   September 23, 2019 at 5:27 pm
   Delivered, Front Desk/Reception/Mail Room
   IRVINE, CA 92623

   Get Updates      




                                                                                                   
       Text & Email Updates


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       Tracking History


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       Product Information



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                                 Can’t find what you’re looking for?
                          Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70171450000215348031                                1/2
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                                                                   FAQs




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   USPS Tracking
                                            ®                                                    FAQs   




                                                  Track Another Package          +




                                                                                               Remove   
   Tracking Number: 70171450000215348024

   Your item was delivered to the front desk, reception area, or mail room at 5:27 pm on September
   23, 2019 in IRVINE, CA 92623.




     Delivered




                                                                                                        Feedback
   September 23, 2019 at 5:27 pm
   Delivered, Front Desk/Reception/Mail Room
   IRVINE, CA 92623

   Get Updates      




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       Text & Email Updates


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       Tracking History


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       Product Information



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                                 Can’t find what you’re looking for?
                          Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70171450000215348024                                1/2
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   USPS Tracking
                                               ®                                                  FAQs   




                                                   Track Another Package   +




                                                                                                Remove   
   Tracking Number: 70171450000215348000

   Your item was delivered to the front desk, reception area, or mail room at 5:27 pm on September
   23, 2019 in IRVINE, CA 92623.




     Delivered




                                                                                                         Feedback
   September 23, 2019 at 5:27 pm
   Delivered, Front Desk/Reception/Mail Room
   IRVINE, CA 92623

   Get Updates        




                                                                                                   
       Text & Email Updates


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       Tracking History


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       Product Information



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                                    Can’t find what you’re looking for?
                           Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction                                                                   1/2
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                                                     FAQs




                                                                                                       Feedback




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   USPS Tracking
                                               ®                                                  FAQs   




                                                   Track Another Package   +




                                                                                                Remove   
   Tracking Number: 70171450000215348017

   Your item was delivered to the front desk, reception area, or mail room at 5:27 pm on September
   23, 2019 in IRVINE, CA 92623.




     Delivered




                                                                                                         Feedback
   September 23, 2019 at 5:27 pm
   Delivered, Front Desk/Reception/Mail Room
   IRVINE, CA 92623

   Get Updates        




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       Text & Email Updates


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       Tracking History


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       Product Information



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                                    Can’t find what you’re looking for?
                           Go to our FAQs section to find answers to your tracking questions.


https://tools.usps.com/go/TrackConfirmAction                                                                   1/2
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                                                     FAQs




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11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 19-282-RGK

14              Plaintiff,                    EXHIBIT 3 TO JAUREGUI DECLARATION

15                    v.

16   ZHONGTIAN LIU ET AL.,

17              Defendants.

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   USPS Tracking
                                            ®                                                    FAQs   




                                                  Track Another Package          +




                                                                                               Remove   
   Tracking Number: 70171450000215348079

   We attempted to deliver your item at 11:40 am on September 21, 2019 in TUSTIN, CA 92782 and a
   notice was left because an authorized recipient was not available. You may arrange redelivery by
   using the Schedule a Redelivery feature on this page or may pick up the item at the Post Office
   indicated on the notice beginning September 23, 2019. If this item is unclaimed by October 6, 2019
   then it will be returned to sender.




                                                                                                        Feedback
   Delivery Attempt: Action Needed
   September 21, 2019 at 11:40 am
   Notice Left (No Authorized Recipient Available)
   TUSTIN, CA 92782

   Schedule Redelivery        




                                                                                                   
       Text & Email Updates


                                                                                                   
       Schedule Redelivery


                                                                                                   
       Tracking History


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       Product Information



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                                 Can’t find what you’re looking for?
                          Go to our FAQs section to find answers to your tracking questions.


                                                                   FAQs




                                                                                                       Feedback




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   USPS Tracking
                                           ®                                                                       FAQs   




                                                Track Another Package                  +




                                                                                                                 Remove   
   Tracking Number: 70171450000215348048

   We attempted to deliver your item at 11:40 am on September 21, 2019 in TUSTIN, CA 92782 and a
   notice was left because an authorized recipient was not available. You may arrange redelivery by
   using the Schedule a Redelivery feature on this page or may pick up the item at the Post Office
   indicated on the notice beginning September 23, 2019. If this item is unclaimed by October 6, 2019
   then it will be returned to sender.




                                                                                                                          Feedback
   Delivery Attempt: Action Needed
   September 21, 2019 at 11:40 am
   Notice Left (No Authorized Recipient Available)
   TUSTIN, CA 92782

   Schedule Redelivery       




                                                                                                                    
       Text & Email Updates


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       Schedule Redelivery


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       Tracking History


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       Product Information



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                                Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                 FAQs




                                                                                                                 Feedback




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